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IN THE UNITED STATF.S DISTRICT coURT
WESTERN DISTRICT oF TENNESSEE 05 mg 22 pH 2, 36
WESTERN I)IVISION
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C!M 145 _D#$T':»JU OOUT
JEH, INC. and W/D air z' :1.;§;?¢;%8
ERIC HINSHAW,
Plaintiffs,
vs. No. 05:2509 Mav

VOLVO CONSTRUCTION EQUIPMENT
RENTS, INC.; VOLVO CONSTRUCTION
EQUIPMENT NORTH AMERICA, INC.;
VOLVO COMMERCIAL FINANCE LLC
THE AMERICAS; and

SCOTT CONSTRUCTION EQUIPMENT
CO., LLC,

Defendants.

 

SCHEDULING ORDER

 

Pursuant to Written notice, a scheduling conference Was held,oa-P¢\:\-gus¥-Z§M.
Present were Barry Ward and Ma.rc L. Schatten, Glankler Brown, PLLC, counsel for plaintiffs,
Stephen P. Hale and Margaret A. Reid, Husch & Eppenberger, LLC, Attorneys for Defendants,
Scott Construction Equipment Co. (“Scott Construction"), LLC, Michael J. Lockerby and Sean
P. Trende, Hunton & Williams LLP, Glen Reid and Robert E. Craddock, Jr. of Wyatt, Tarrant &
Combs, LLP, Attorneys for Defendants, Volvo Construction Equipmenf Rents, Inc. ("Volvo
Rents") and Volvo Construction Equipment North America, Inc. ("Volvo CE"), Eugene J.
Podesta, Jr. and Thomas Barnett, Baker, Donelson, Bearma;n, Caldwell & Berkowitz, PC,

Attorneys for Defendant VFS US LLC d/b/a Volvo Cornmercial Finance ("Volvo Finance")

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(identifled in the Complaint as Volvo Commercial Finance LLC the Americas). At the
conference, the following dates Were established as the final dates for:
INITIAL DISCLOSURES PURSUANT to Fed.R.Civ.P. 26(a)(1): September 9, 2005 .
JOINING PARTIES: October 31, 2005.
AMENDING PLEADINGS: october 31, 2005.
INITIAL MO'I‘IONS TO DISMISS: November 30, 2005.
COMPLETING ALL DISCOVERY: Apri128, 2006.
(a) DOCUMENT PRODUCTION: Apri128, 2006.

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: Apri128, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF’S AND COUNTER-PLAINTIFF’S
RULE 26 EXPERT INFORMATION: February 28, 2006.

(2) DISCLOSURE OF DEFENDANT’S AND COUNTER-
DEFENDANT’S RULE 26 EXPERT INFORMATION: March 30,
2006.

(3) EXPERT WITNESS DEPOSITIONS: April 28, 2006.
FILING DISPOSITIVE MOTIONS: May 31, 2006.

OTHER RELEVANT MATTERS: The Defendant Volvo Rents filed a motion to
compel arbitration on July 22, 2005, and in no way waives its rights by joining this order. In
accordance With the Court’s observations concerning mediation made at the hearing on Plaintiffs
application for a temporary injunction heard on July 27, 2005, Plaintiffs and Volvo Rents and
Volvo CE have agreed to pursue mediation and that the private mediation shall be concluded by
October l, 2005. Plaintiffs and Volvo Rents and Volvo CE have agreed that this litigation will be
stayed and suspended effective from July 27, 2005 until October 1, 2005 so that all responses
that any party is required to make to pleadings, motions or discovery and all new pleadings,
motions and discovery are hereby stayed and suspended until October l, 2005 . Volvo Rents'
Motion to Compel Arbitration, like all other motions, pleadings, and discovery is stayed by
agreement pending the mediation Volvo Finance and Scott Construction have not agreed to the
mediation and stay of this case.

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No depositions may be scheduled to occur after the discovery cutoff date, except by leave
of Court. All motions, requests for admissions, or other filings that require a response must be
filed sufficiently in advance of the discovery cutoff date to enable opposing counsel to respond
by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to last seven days if all parties that
are presently in this litigation participate in the trial. The pretrial order date, pretrial conference
date, and trial date Will be set by the presiding judge.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed.R.Civ.P. 12, 56, 59 and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge.
This order has been entered after consultation With trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or

extended

IT IS SO ORDERED.

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The Honorable Diane K. Vescovo
United States Magistrate Judge

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Date

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Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:05-CV-02509 was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

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